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                                UNITED STATES BANKRUPTCY COURT
                                 FOR THE DISTRICT OF DELAWARE

   In Re:                                               11
                                                Chapter _____

                                                                  24 11967 (_____)
                                                         Case No. ____-_________ JKS

   Debtor: BIG   LOTS, INC., et al.
           _________________________________________________________

                         MOTION AND ORDER FOR ADMISSION PRO HAC VICE
   Pursuant to Local Rule 9010-1 and the attached certification, counsel moves the admission pro hac vice
       Edmond M. George
   of _____________________________________________________________________________
                Bayshore Mall 1A, LLC, Bayshore Mall 1B, LLC, and Bayshore Mall 2, LLC
   to represent _____________________________________________________________________
   in this action.
                                                          /s/ Leslie B. Spoltore
                                                          ____________________________________________

                                                          Firm Name: OBERMAYER REBMANN
                                                                     MAXWELL & HIPPEL LLP
                                                          Address:   123 S. Justison Street, Suite 100
                                                          Phone:     Wilmington, DE 19801-5364
                                                                     Telephone: (302) 238-6947
                                                          Email:     leslie.spoltore@obermayer.com

                     CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
         Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
practicing and in good standing as a member of the Bar of the                    State of New Jersey and the
                                                                               __________________
                                                                              Commonwealth of Pennsylvania
                                                                                                             and submit to the
disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course of this action. I
also certify that I am generally familiar with this Court’s Local Rules and with Standing Order for District Court Fund
revised 12/21/23. I further certify that the fee of $50.00 has been paid to the Clerk of Court for District Court.


                                                          /s/ Edmond M. George
                                                          ____________________________________________
                                                                           OBERMAYER REBMANN MAXWELL &
                                                          Firm Name: HIPPEL LLP
                                                          Address:         1500 Market Street, Suite 3400
                                                                           Philadelphia, PA 19102
                                                          Phone:           Telephone: (215) 665-3140
                                                                           edmond.george@obermayer.com
                                                          Email:

                                          ORDER GRANTING MOTION
            IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.




                                                                                                                    Local Form 105
